
48 So.3d 100 (2010)
Smith PAGET, Appellant,
v.
STATE of Florida, Appellee.
No. 1D09-6271.
District Court of Appeal of Florida, First District.
November 10, 2010.
*101 Nancy Daniels, Public Defender, and Archie F. Gardner, Jr., Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
We affirm the appellant's convictions and sentences but remand for the trial court to strike the reference to "775.087" from the appellant's written judgment as that statutory section is inapplicable to the appellant's case.
AFFIRMED and REMANDED with instructions.
PADOVANO, ROBERTS, and MARSTILLER, JJ., concur.
